Case 1:16-cr-OO436-K|\/|W. Document219 Fi|

UNITED STATES DISTRICT COURT
SOUTHE`,RN DISTRICT OF NEW YORK

  

 

 

UNITED srArEs oF AMERICA, l 1 '* ' _ -- " " '
CoNssNT ro PRocEED assess

A UNiTED s'rArEs MAGISTRATE

JUDGE oN A FELo_NY PLEA ALLocUrioN

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Before: f"l£€?‘@é"l`i § §§Y€:‘**F"`§M
U.S.M.J_.

` Defendant.

 

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The undersigned defendant, advised by his or her undersigned attorney, consents to a
United States Magistrate Judge presiding over the proceedings required by Rule ll, Fed, R. Crirn. P.,
for me to enter a plea of guilty in rny case, or to change rny plea, if one has been previously made, from
not guilty to guilty. l understand that if my plea is accepted, my sentencing Will take place before the
United States District Judge Who is assigned, or Who is to be assigned, to my case.

l understand that l have the absolute right to insist that all Rule ll proceedings be
conducted before an Article IH .Tudge, and hereby represent and conirrn to the Magistrate Judge that
no threats or promises, or other improper inducements, have been made to cause rne to consent to this
procedure, and thatl do so voluntarily

t -;z,/
]N WITNESS WH`EREOF We have executed this consent this ~§w f

day of fig iii /"€'¥ file , 2018 at f’i*§? f f ¢`f”/__?- §“__ vi »;”New\ir:orl<

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Mendmt Attorney for Defendant
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